
Allen, J.
delivered the opinion of the Court.
The Court is of opinion, upon the authority of Hamlett v. The Commonwealth, supra, p. 82, that the recognizance in this case is defective, it not appearing that any order was made by the Examining Court fixing the sum in which the prisoner and his bail should be bound. Therefore the judgment of the Court below is reversed, and this Court proceeding, &amp;c., it seems to the Court that the matters and things in said scire facias alleged, are not sufficient in law for the Commonwealth to have and maintain her said action against the defendant; therefore it is considered that the Commonwealth take nothing by her scire facias, and that the defendant be hence dismissed, &amp;c.: which is ordered to be certified.
